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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                               Miami Division
                                                                             (AMENDED JUDGMENT)
   UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
              v.
          CRAIG SIZER                                                 Case Number: 16-20715-CR-COOKE-1
                                                                      USM Number: 14046-104

                                                                      Counsel For Defendant: Dennis Urbano, Esq.
                                                                      Counsel For The United States: Roger Cruz, AUSA
                                                                      Court Reporter: Gilda Pastor-Hernandez
Date of Original Judgment: July 26, 2017
AMENDMENT REASONS:
Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
The defendant pleaded guilty to Count One of the Indictment.
The defendant is adjudicated guilty of these offenses:
                                                                                                          OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                              COUNT
                                                                                                          ENDED
18, U.S.C. 1349                          Conspiracy to commit wire and mail fraud.                        08/2015       1
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.
All remaining counts are dismissed on the motion of the government.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.



                                                                  Date of Imposition of Sentence:
                                                                  8/4/2017 nunc pro tunc to 7/26/2017




                                                                  August 4, 2017
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DEFENDANT: CRAIG SIZER
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                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 180 months.
The Court makes the following recommendations to the Bureau of prisons:
For the defendant to be designated to a facility in the Southern District of Florida, and that he participate
in the Bureau of Prison’s Residential Drug and Alcohol Program.
The defendant shall surrender to the designated facility and/or the US Marshal for this District on or
before 12:00 p.m. on September 15, 2017.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
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DEFENDANT: CRAIG SIZER
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.
The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
    1. The defendant shall not leave the judicial district without the permission of the court or probation officer;
    2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
       days of each month;
    3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4. The defendant shall support his or her dependents and meet other family responsibilities;
    5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
       other acceptable reasons;
    6. The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
       of a felony, unless granted permission to do so by the probation officer;
    10.The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
       of any contraband observed in plain view of the probation officer;
    11.The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
    12.The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
    13.As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
       criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
       confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: CRAIG SIZER
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                                              SPECIAL CONDITIONS OF SUPERVISION

Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

No New Debt Restriction - The defendant shall not apply for, solicit or incur any further debt, included but not
limited to loans, lines of credit or credit card charges, either as a principal or cosigner, as an individual or through
any corporate entity, without first obtaining permission from the United States Probation Officer.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Related Concern Restriction - The defendant shall not own, operate, act as a consultant, be employed in, or
participate in any manner, in any related concern during the period of supervision.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
into any self-employment.

Substance Abuse Treatment - The defendant shall participate in an approved treatment program for drug and/or
alcohol abuse and abide by all supplemental conditions of treatment. Participation may include
inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-payment) based
on ability to pay or availability of third party payment.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: CRAIG SIZER
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                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                      Assessment    Fine                  Restitution
            TOTALS                                     $100.00      $0.00                   $0.00
The determination of restitution is deferred until October 11, 2017 at 11:30 a.m. An Amended Judgment in
a Criminal Case (AO) 245C) will be entered after such determination.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below. However,
pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
Restitution with Imprisonment – Once restitution is ordered by the Court, the defendant shall pay joint
and several restitution with the codefendants in the following manner. During the period of incarceration,
payment shall be made as follows: (1) if the defendant earns wages in a Federal Prison Industries
(UNICOR) job, then the defendant must pay 50% of wages earned toward the financial obligations
imposed by this Judgment in a Criminal Case; (2) if the defendant does not work in a UNICOR job, then
the defendant must pay a minimum of $25.00 per quarter toward the financial obligations imposed in this
order. Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly
gross earnings, until such time as the court may alter that payment schedule in the interests of justice. The
U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s Office shall monitor the payment of
restitution and report to the court any material change in the defendant’s ability to pay. These payments
do not preclude the government from using other assets or income of the defendant to satisfy the
restitution obligations.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: CRAIG SIZER
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:
A. Lump sum payment of $100.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and
the U.S. Attorney's Office are responsible for the enforcement of this order.
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
